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KATHY A. DOCKERY
CHAPTER 13 TRUSTEE
700 S. FLOWER ST., SUITE 1950
LOS ANGELES, CA 90017
PHONE: (213) 996-4400
FAX: (213) 996-4426
                                         UNITED STATES BANKRUPTCY COURT

                                           CENTRAL DISTRICT OF CALIFORNIA

                                                 LOS ANGELES DIVISION

                                                      Case No: LA14-30849-SK
 IN RE:
                                                      CHAPTER 13
   DELRAY M RICHARDSON
   CARLA C RICHARDSON


                                                       TRUSTEE’S OBJECTIONS TO PLAN CONFIRMATION;
                                                       DECLARATION IN SUPPORT THEREOF; AND NOTICE
                                                       RE: EFFECT OF FAILURE TO APPEAR AT
                                                       CONFIRMATION HEARING

                                                      DATE:           January 8, 2015
                                  DEBTOR(S).          TIME:           10:00 am
                                                      PLACE:          ROYBAL BUILDING
                                                                      255 EAST TEMPLE STREET
                                                                      Courtroom 1575 15th Floor
                                                                      LOS ANGELES, CA 90012


     TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY JUDGE, THE DEBTOR

 AND ALL PARTIES IN INTEREST:



     The Chapter 13 Standing Trustee (the “Trustee”) hereby objects to confirmation of the plan in that the

 Debtor(s) has failed to meet all of the mandatory requirements set forth under

 11 U.S.C. §1325. The Trustee’s Objections are set forth in detail in Exhibit “A” of the attached Declaration in

 Support of the Trustee’s Objections to Confirmation. The Objections are based on information as known to

 the Trustee as of the §341(a) Meeting of Creditors (The "Meeting"). The Trustee reserves the right to raise

 additional objections.



     Unless otherwise specified at the Meeting, the Trustee requests that the debtor(s)

 provide any new or amended documents no later than five days after the Meeting. Pursuant to

 11 U.S.C. §521(3), the debtor(s) is required to cooperate with the Trustee.



     THE FAILURE OF THE DEBTOR(S) OR THE ATTORNEY FOR DEBTOR(S), TO APPEAR AT THE

 CONFIRMATION HEARING IS CAUSE FOR DISMISSAL OR CONVERSION OF THE CASE UNLESS THE
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 DEBTOR(S) OR THE ATTORNEY FOR DEBTOR(S) IS EXCUSED BY THE TRUSTEE OR BY A COURT

 ORDER PURSUANT TO L.B.R. 3015-1(d).

    THE DEBTOR(S) AND ATTORNEY FOR DEBTOR(S), IF ANY, ARE ALSO ADVISED THAT THE CASE

 MAY BE DISMISSED OR CONVERTED AT THE CONFIRMATION HEARING IF ALL PLAN PAYMENTS

 AND   THE    DECLARATION       SETTING     FORTH     POST-PETITION      PRECONFIRMATION        DEED     OF    TRUST

 PAYMENTS     (OFFICIAL   FORM     F3015-1.4)   ARE   NOT    TENDERED      TO   THE    TRUSTEE       PRIOR    TO   THE

 DULY NOTICED HEARING TIME.




   WHEREFORE, the Standing Trustee respectfully requests that confirmation of the plan be denied .



DATED: 12/23/14



                                                      _________________________________

                                                      KATHY A. DOCKERY, Chapter 13 Trustee
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                                        DECLARATION OF KATHY A. DOCKERY

I, Kathy A. Dockery, declare as follows:

    1. I am the standing Chapter 13 Trustee in this matter and by virtue thereof, I have personal

knowledge of files and records kept by my office in the regular course of business.                  I have personally

reviewed the files and records kept by my office in the within case.           The following facts are true and correct

and within my own personal knowledge and I could and would testify competently thereto if called to do so.

    2. The Trustee objects to confirmation of the proposed Plan due to the following deficiencies all of

which existed prior to or at the time of the §341(a) Meeting(s) held in this matter.          A true and correct copy

of the Trustee’s Objections in this matter is attached hereto and incorporated herein by reference as

Exhibit “A”.

    3. The Debtor(s) is requested to provide the documents and information set forth in

Exhibit “A”.



        I declare under penalty of perjury that the foregoing is true and correct.



DATED: 12/23/14


                                                           _____________________________________
                                                           KATHY A. DOCKERY, Chapter 13 Trustee
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                                                      EXHIBIT A
                                                Trustee Objections

If the debtor(s) fails to produce the documents and resolve the issues set forth in this trustee’s objection to
confirmation, the trustee may recommend dismissal or conversion of the case for cause and unreasonable delay
that is prejudicial to creditors. See 11 U.S.C. §§1307(c) and 1307(c) (1).

                             BANKRUPTCY PAYMENTS DUE AT CONFIRMATION
Bankruptcy Payments due at confirmation must be mailed to the Trustee’s lockbox prior to the confirmation
hearing. The Debtor or Attorney must present the Plan Payment Declaration with an attached copy of the
bankruptcy payment and a certified proof of mailing at the confirmation hearing. The Trustee’s lockbox address is
as follows:
                                               Chapter 13 Trustee
                                                  P.O. Box 691
                                            Memphis, TN 38101-0691

If you do not have evidence that your bankruptcy payments are current, your case may be dismissed at the
confirmation hearing.

Other issues may arise at or before confirmation requiring additional action or information by the debtor and
debtor’s counsel.

RESPONSES TO THE TRUSTEE’S OBJECTIONS ARE DUE ON December 29, 2014
Responses to the Trustee’s Objections must be uploaded to our website latrustee.com on the tab T.R.U.
If your firm is not registered for T.R.U., email our office at tru@latrustee.com for a user name and
password for your firm.

All documents that are required to be filed with the Bankruptcy Court must be uploaded to PACER prior
to submittal to the Trustee’s website.

                                                                                                        Amendment
                                                                                                            or
                                                                                                       Documentation
   No.                                          OBJECTION                                                Requested
                                                         The Plan
     1.       If the proposed Plan provides for less than a 100% dividend to class five         Plan
              creditors, the Debtor(s) is required to turn over all income tax refunds to the
              Trustee during the first three years of the Plan.

                                                 Income (Schedule I)
     2.       The Debtor(s) has failed to provide proof of income for royalties.                Royalty Statements
              L.B.R § 3015-1(c)(2).                                                             from September
                                                                                                through November
                                                                                                2014; Bank Statements
                                                                                                for the six months prior
                                                                                                to the Meeting of
                                                                                                Creditors




                                             Miscellaneous Objections
     3.      The Debtor(s) has failed to disclose security deposit in Schedule B. See 11        Schedule B
             U.S.C. §521(1); The Debtor(s) has a duty to prepare schedules carefully,
                                                                                th
             completely, and accurately. Cusano v. Klein, 264 F.3d 936, 946 (9 Cir. 2001);
    Delray M Richardson
    1430849
    12/22/2014 3:10:49 PM
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         In re Mohring, 142 B.R. 389,394 (Bankr. E.D. Cal. 1992).


4.       The Debtor(s) is requested to provide appropriate evidence of all required plan    Evidence of Plan
         payments which have come due prior to the date and time of the scheduled           Payments
         confirmation hearing pursuant to the Trustee’s policy and Local Bankruptcy
         Rules 3015-1(k) et seq. and 3015-1(m) et seq. Failure to do so may be cause
         for dismissal or conversion of the case to a case under chapter 7 pursuant to 11
         U.S.C. Section 1307(c) and Local Bankruptcy Rule 3015-1(k)(4) and 3015-
         1(m)(8).




Delray M Richardson
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          CARLA C RICHARDSON                                                                              CHAPTER: 13

                                                                                                          CASE NUMBER: LA14-30849-SK
                                                                                                          Debtor(s).


Proposed orders do not generate an NEF because only orders that have been entered are placed on the CM/ECF docket.


                                               PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                                    700 S. Flower Street, Suite 1950
                                                      Los Angeles, California 90017

A true and correct copy of the foregoing document described as “TRUSTEE’S OBJECTIONS TO PLAN
CONFIRMATION; DECLARATION IN SUPPORT THEREOF; AND NOTICE RE: EFFECT OF FAILURE TO APPEAR AT
CONFIRMATION HEARING”, will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner indicated below:

I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) - Pursuant to controlling General
Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing document will be served by the court via NEF and hyperlink
to the document. On _________________, I checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following person (s) are on the Electronic Mail Notice List to receive NEF transmission
at the email address(es) indicated below:




                                                                                                          Service information continued on attached page


II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL(indicate method for each person or entity served) :
On 12/23/14, I served the following person(s) and/or entity(ies) at the last known address(es) in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States Mail, first class ,
postage prepaid, and/or with an overnight mail service addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed .

                                                                                             X            Service information continued on attached page



III.   SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL (indicate method for each person or
entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on _________________, I served the following person(s)
and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method ), by facsimile
transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on the judge
will be completed no later than 24 hours after the document is filed.
                                                                                                          Service information continued on attached page



I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct .


  12/23/14                                Gloria Mangum
   Date                                   Type Name                                                    Signatur e



                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

January 2009                                                                                                                                         F 9013-3.1
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                                                                                                          CHAPTER: 13
         CARLA C RICHARDSON
                                                                                                          Debtor(s).
                                                                                                          CASE NUMBER:         LA14-30849-SK


                                                                         Service List




   Delray M Richardson                                                            LAW OFFICES OF ALISA ADMIRAL
   Carla C Richardson                                                             5150 E. PACIFIC COAST HWY.,
   2191 East 21st Street, Unit K                                                  SUITE 200
   Signal Hill, CA 90755                                                          LONG BEACH, CA 90804




                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

January 2009                                                                                                                                         F 9013-3.1
